       Case 3:04-cr-05460-RBL          Document 128        Filed 05/22/06     Page 1 of 1



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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT TACOMA

 7    UNITED STATES OF AMERICA,
 8                   Plaintiff,
                                                                Case No. CR04-5460FDB
 9           v.
                                                                ORDER GRANTING IN PART
10    SCOTT LANEY,                                              MOTION TO CONTINUE
                                                                SENTENCING HEARING
11                   Defendant.
12
            Defendant Scott Laney moves to continue his sentencing hearing from May 19, 2006 to
13
     January 19, 2007, or later, in order that he be sentenced on the same date as his co-defendant Tobias
14
     Grace so as to avoid unwarranted sentencing disparity. The circumstances of these defendants are
15
     different and sentencing these co-defendants at different times does not mean that an unwarranted
16
     disparity between the sentences imposed will result. Defendant Laney’s sentence will be continued
17
     from the May date, but not to the full extent requested. ACCORDINGLY,
18
            IT IS ORDERED: Defendant Laney’s Motion To Continue Sentencing Hearing [Dkt. # 125
19
     *Sealed*] is GRANTED in part and DENIED in part and the sentencing hearing is continued to
20
     Friday, September 8, 2006 at 9:00 a.m.
21
            DATED this 22nd day of May, 2006.



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24                                        FRANKLIN D. BURGESS
                                          UNITED STATES DISTRICT JUDGE
25

26   ORDER - 1
